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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Southern Division


 MARIO ERNESTO AMAYA et al.,

         Plaintiffs

 v.                                                    Civ. Action No. 8:16-cv-03350-TDC

 DGS CONSTRUCTION, LLC, d/b/a
 SCHUSTER CONCRETE CONSTRUCTION,

         Defendant.


      UNOPPOSED MOTION FOR APPROVAL OF CIVIL SUPERSEDEAS BOND

        Defendant, DGS Construction, LLC d/b/a Schuster Concrete Construction (“Defendant”),

by and through its undersigned counsel, and pursuant to Federal Rule of Civil Procedure 62(b),

hereby files this Unopposed Motion for Approval of Civil Supersedeas Bond, and in support

thereof states:

        1.        On July 27, 2021, this Court entered judgment in the amount of $1,196,601.96 in

favor of the Overtime Fringe Benefit Class, as represented by Plaintiffs Mario Ernesto Amaya and

Jose Norlan Gonzalez. Defendant requests that the Court approve its supersedeas bond in the

amount of $1,448,181.18, and stay execution of the judgment pending appeal. A copy of the bond

is attached as Exhibit A to the Declaration of Mary M. McCudden.

        2.        Federal Rule of Civil Procedure 62(b) provides that “a party may obtain a stay by

providing a bond” and that “[t]he stay takes effect when the court approves the bond…and remains

in effect for the time specified in the bond.” Fed. R. Civ. P. 62(b). Defendant has posted a bond

in the amount of $1,448,181.18 by a surety meeting the requirements of Local Rule 110(a).

        3.        Plaintiffs have agreed to the amount of the bond. Defendant now requests approval

of its supersedeas bond in the amount of $1,448,181.18, which will stay execution of the judgment.
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Date: March 21, 2022                   Respectfully submitted,

                                       /s/ Stephen M. Silvestri
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                                       Mary M. McCudden (Bar No. 20760)
                                       Courtney A. Woods (Bar No. 21820)
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                                       d/b/a Schuster Concrete Construction




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